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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                         :   Case No. 8:04-cr-236-T-23MSS

 GABRIEL RODRIGUEZ,

        Defendant.


                         PRELIMINARY ORDER OF FORFEITURE

        THIS CAUSE comes before the Court on Motion of the United States of America

 for Entry of a Preliminary Order of Forfeiture, which, at sentencing, shall be a final order

 of forfeiture as to defendant Gabriel Rodriguez's right, title, and interest in property

 subject to forfeiture. For good cause shown, the Motion of the United States is

 GRANTED. The Court hereby finds that the United States has established the requisite

 nexus between the assets listed below and the bank fraud violation to which defendant

 Gabriel Rodriguez pled guilty pursuant to 18 U.S.C. § 1344, as charged in Count Three

 of the Indictment:

                a.    $60,734.70 seized from SunTrust Bank Account
                      Number 0436002000989;

                b.    $1,929.26 seized from SunTrust Bank Account
                      Number 0436000009466;

                c.    $25.81 seized from Bank of America Account Number
                      003335020805; and

                d.    $32.68 seized from Bank of America Account Number
                      03739062688.
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 Accordingly, it is hereby

        ORDERED, ADJUDGED, and DECREED that all right, title, and interest of

 defendant Gabriel Rodriguez in the funds seized from the accounts identified in "a"

 through "d" above are hereby CONDEMNED and FORFEITED to the United States of

 America, pursuant to the provisions of 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.

 § 2461(c), for disposition according to law.

        The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

 and disposition of the funds, and to entertain any third party petitions that may be

 asserted in these proceedings.

        DONE and ORDERED in Chambers in Tampa. Florida, this             1 GK day of



                                                                                     1
                                           UNITED STATES DISTRICT JUDGE


 Copies to: Anita M. Cream, AUSA
            Attorneys of Record
